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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


SENG-TIONG HO and YINGYAN HUANG,               )
                                               )
            Plaintiffs,                        )
                                               )
     v.                                        )      No. 07 C 4305
                                               )
ALLEN TAFLOVE and SHIH-HUI CHANG,              )
                                               )
            Defendants.                        )


                      MEMORANDUM OPINION AND ORDER

     Plaintiffs Seng-Tiong Ho (“Ho”) and Yingyan Huang (“Huang”)

filed an action for copyright infringement, false designation of

origin,      unfair       competition,             conversion,        fraudulent

misrepresentation, and trade secret misappropriation based on the

use of their scientific works in several publications authored by

defendants Allen Taflove (“Taflove”) and Shih-Hui Chang (“Chang”).

Defendants filed for summary judgment on all claims and on January

15, 2010,    I   granted their       motion.        Twenty-eight   days   later,

plaintiffs filed the pending “motion to reconsider” the grant of

summary judgment on two of the six original claims - copyright

infringement     (Count   I)   and   conversion       (Count   IV).     For   the

following reasons, plaintiffs’ motion is denied.

                                       I.

     There is technically no “motion to reconsider” under the

Federal Rules of Civil Procedure (“FRCP”); however, there are

motions to amend or alter judgment under FRCP 59(e) and motions for
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relief from judgment under FRCP 60(b).1                  Whether a motion for

reconsideration should be analyzed under FRCP 59(e) or 60(b)

depends on the substance of the motion, not on the timing or label

affixed to it.        Obriecht v. Raemisch, 517 F.3d 489, 493 (7th Cir.

2008)(citations omitted).           The pending motion is labeled a FRCP

60(b) motion, but seeks to alter my decision to grant summary

judgement in favor of defendants on plaintiffs’ conversion and

copyright infringement claims. It is therefore properly considered

under FRCP 59(e).        See Obriecht, 517 F.3d at 494.

        Altering or amending a judgment pursuant to FRCP 59(e) is

permissible only when there is newly discovered evidence or where

there has been a manifest error of law or fact. Harrington v. City

of Chicago, 433 F.3d 542, 546 (7th Cir. 2006)(citations omitted).

A manifest error is a “wholesale disregard, misapplication, or

failure to recognize controlling precedent.” Oto v. Metro. Life

Ins. Co., 224 F.3d 601, 606 (7th Cir. 2000) (citation omitted).

Submitted with their twenty-page motion to reconsider, plaintiffs

include four large volumes of exhibits, all of which were available

to them on summary judgment.                  See Caisse Nationale de Credit

Agricole v. CBI Indus. Inc., 90 F.3d 1264, 1269-70 (“A party

seeking to defeat a motion for summary judgment is required to

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  A motion filed under FRCP 59(e) must be filed within twenty-eight
days of the entry of judgment, while a FRCP 60(b) motion must be
filed “within a reasonable time” and, for certain specified
reasons, no more than a year after the entry of judgment. Fed. R.
Civ. P. 59(e), 60(c)(1).

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‘wheel out all its artillery to defeat it.’”)(citations omitted).

“Belated    factual    or   legal     attacks    are      viewed   with   great

suspicion...[and r]econsideration is not an appropriate forum for

rehashing previously rejected arguments or arguing matters that

could have been heard during the pendency of the previous motion.”

Id.   Plaintiffs contend that the grant of summary judgment on

Counts I and IV was based on manifest errors of fact and law.                     I

review plaintiffs’ arguments in light of what was presented by both

parties at summary judgment.

                                      II.

      First,   with   respect    to   conversion    of    physical   property,

defendants argued that plaintiffs could not prove their conversion

claim because they flatly admitted defendants did not take any of

their physical property.        (Defs.’ SJ Mem. 11.)         They also argued

that plaintiffs had no claim for conversion of intangibles because

Illinois law does not recognize conversion of ideas where there is

no deprivation of the subject property.             Id.    This argument was

supported by citation to FMC Corp. v. Capital Cities/ABC Inc., 915

F.3d 300 (7th Cir. 1990) and In re Thebus, 483 N.E.2d 1258 (Ill.

1985), and the following evidence taken from plaintiffs’ own

depositions:

      Q.    Are you aware of Allen Taflove or Gilbert Chang
            physically taking any of your property, such as
            physically removing your notebook or physically
            removing your documents, your papers?
       A.   Not that I’m aware of.


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(SOF ¶ 55; Huang Dep., SOF Ex. D at 210:12-16.)

        Q.   Professor Ho, to your knowledge, has Gilbert Chang
             or Allen Taflove taken anything of yours, such as
             physically removed your notebook, something like
             that?
        A.   ...your not talking about intellectual property;
             your talking about physically removing something?
        Q.   Physically removing something, like your notebook
             or your actual pieces of paper.
        A.   No.

(SOF ¶ 55; Ho Dep, SOF Ex. E at 471:20-472:5.)

       In response to defendants’ summary judgment motion, plaintiffs

argued that while defendants did not “steal” physical originals and

copies of their works, plaintiffs gave them copies of Huang’s

thesis and figures, and copies and an original of “Ho’s notebooks.”

(SJ Resp. 12.)     The cited evidence indicated that Chang was given

copies of Huang’s thesis and figures, but did not mention whether

or not defendants were given originals or copies of Ho’s notebooks

too.    Id. (citing PSAF ¶¶ 18-21).

       In the present motion, plaintiffs argue that their conversion

claim was based not only on Huang’s works and “Ho’s notebooks,” but

also on computer code co-developed by Chang and Ho in 1999 and

Chang’s 2002 research notebook, which apparently was issued by Ho.

(Mot. 17.)    Plaintiffs are wrong.        They did not mention either the

computer code or Chang’s 2002 notebook in their original summary

judgment argument or evidence.         (Compare SJ Resp. 12 (citing PSAF

¶¶ 18-21) with Mot. 17-18 (citing Mot. Ex. 2Q and PSAF Ex. A at ¶

28); Rai v. Dynagear, Inc., No. 98 C 6053, 2000 WL 875401, *9


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(N.D.Ill. June 26, 2000)(“Any argument based on a fact raised in a

Rule [56.1] statement is waived if it is not asserted in the

brief.”)    In addition, the newly cited evidence consists of an

averment by Ho that Chang took and did not return the 2002 research

notebook and co-developed computer code.            (PSAF Ex. A at ¶ 28.)

This evidence does not create an issue of fact as it directly

contradicts Ho’s and Huang’s prior testimony that no notebooks or

other physical property were taken.           (Compare SOF ¶ 55 with PSAF

Ex. A at ¶ 28); see Velez v. City of Chicago, 442 F.3d 1043, 1049

(7th Cir. 2006)(noting that an issue of fact cannot be created by

an affidavit that contradicts prior sworn testimony).                This same

paragraph of Ho’s affidavit also states that he gave Chang a copy

of the 1999 notebook.      (PSAF Ex. A at ¶ 28.)       This evidence was not

cited in plaintiffs’ original summary judgment response, but even

so, the affidavit does not explain what happened to the original

notebook, and Ho previously testified that defendants did not take

it.   (SOF ¶ 55; PSAF Ex. A at ¶ 28.)

      Because the evidence presented on summary judgment, at best,

showed defendants only had copies of some of plaintiffs’ works, I

found plaintiffs’ claim for conversion of tangible goods could not

survive summary judgment and cited FMC Corp. v. Capital Cities/ABC,

Inc., 915 F.2d 303-04 (7th Cir. 1990) as support for that finding.

FMC Corp. clearly states that “possession of copies of documents -

as opposed to the documents themselves - does not amount to an


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interference with the owner’s property sufficient to constitute

conversion...the owner is in no way being deprived of the use of

his property.        The only rub is that someone else is using it as

well.”     Id. (citations omitted).

        Plaintiffs contend that FMC Corp. requires defendants to

provide evidence showing plaintiffs retained originals or the

functional equivalent of originals of their works.2                (Mot. 18.)        I

do not read it to require that specific showing.                      Regardless,

plaintiffs admitted in their depositions that defendants did not

take any physical property, including any notebooks.                 The evidence

on summary judgment supporting conversion of tangible goods only

showed defendants were given a copy of Huang’s thesis and figures.

The logical conclusion is that Huang kept the originals.                  In fact,

she must have retained her originals as she published them in mid-

2002.      The same logical conclusion applies to “Ho’s notebooks,”

which were mentioned, but not supported by evidence, in plaintiffs’

summary judgment response.           Ho’s affidavit, cited in the pending



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   Plaintiffs also suggest FMC Corp. does not apply because
California conversion law was at issue. But in that decision, the
Seventh Circuit specifically noted that its holding applied not
only to California law, but also to the conversion laws of most
states because “[t]he principles of what conduct constitutes
conversion are universal.” Id. at 302-03, n.2. (quoting P.M.F.
Servs. Inc. v. Grady, 703 F.Supp. 742, 743 n.1 (N.D.Ill. 1989).
Plaintiffs fail to explain how Illinois law differs from the
conversion laws of California and “most states” such that FMC Corp.
would not apply here. See United States v. Berkowitz, 927 F.2d
1376,   1384   (7th   Cir.  1991)(“perfunctory    and   undeveloped
arguments...are waived.”)

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motion, does state that Ho gave Chang a copy of the 1999 notebook,

but if he also failed to retain the original notebook, he could and

should have said so.         Defendants met their burden on summary

judgment.

     Finally, with regard to conversion of intangibles, plaintiffs

argue I failed to consider certain key evidence that salvages their

claim.   However, the evidence cited with this argument was not

included in their response on summary judgment.             Compare SJ Resp.

12 with Mot. 18-19; see also Corley v. Rosewood Care Center, Inc.,

388 F.3d 990, 1001 (7th Cir. 2004) (explaining that where plaintiff

fails to cite the record, “we will not root through the hundreds of

documents and thousands of pages ... to make his case for him.”);

U.S. v. Dunkel, 927 F.2d 955, 956 (7th Cir. 1991)(“Judges are not

like pigs, hunting for truffles buried in [the record].”)                   They

also contend I should not have found that “the evidence does not

suggest defendants ever prevented Ho and Huang from conducting,

controlling,    accessing,    using,       or publishing    their   research,”

because defendants did not raise that issue.             (Op. 13.)     But that

statement was made to distinguish plaintiffs’ claim from that of

the plaintiff in Bilut v. Northwestern Univ., 692 N.E.2d 1327 (Ill.

App. Ct. 1998) – a case plaintiffs argued was on point and

applicable, which defendants refuted in reply. Accordingly, I find

no manifest error of law or fact on this issue.




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                                     III.

     Plaintiffs also take issue with my alternative finding that

their conversion claim is pre-empted by the Copyright Act.                  First,

they argue that because I found portions of plaintiffs’ works were

not copyrightable, I was wrong to find preemption.                 This argument

confuses copyrightability with the subject matter covered by the

Copyright Act.     Nash v. CBS, Inc., 704 F.Supp. 823, 832 (N.D. Ill.

1989), aff’d, 899 F.2d 1537 (7th Cir. 1990)(“State law claims do

not avoid    preemption    simply    because    they   are    based    upon the

improper    use   of   uncopyrightable      material    contained      in    works

properly subject to copyright.”)(citations omitted.); see also

Berge v. Bd. of Trustees, 104 F.3d 1453, 1463 (4th Cir. 1996).

     Alternatively, plaintiffs argue that there remain fact issues

as to whether the conversion claim goes beyond mere reproduction of

plaintiffs’ works.      To the extent those issues have already been

substantively addressed, I disagree for the reasons given. If this

argument is based on other fact issues, plaintiffs were obliged to

explain them and cite evidence supporting them.              See United States

v. Berkowitz, 927 F.2d 1376, 1384 (7th Cir. 1991)(“perfunctory and

undeveloped arguments...are waived.”)

                                     III.

     With respect to the copyright infringement claim, I reviewed

plaintiffs’ sixteen-page argument on the present motion in light of

their   three-page     summary    judgment     response,     and    the     twelve


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statements of fact cited therein. (Compare Mot. 1-16 with SJ Resp.

5-8.)    I find no reason to alter or amend judgment on the copyright

infringement claim. First, plaintiffs improperly add new arguments

and authority, and cite to a variety of previously available

evidence    not        included   with    their     original     summary   judgment

arguments.       Id.    I do not consider any of these materials now.              If

plaintiffs believed them to be relevant and instructive, they

should have       submitted       them on       summary   judgment.     See    Caisse

Nationale, 90 F.3d at 1269-70.

      Second, to be clear, contrary to plaintiffs’ contentions, I

did not decide that plaintiffs’ copyright registrations were wholly

invalid or that their overall works were not copyrightable.                      (See

Op.     5-10.)      I also did not decide that scientific works and

figures generally are not copyrightable.                   Id.     According to the

plaintiffs, only certain portions of the registered works were

copied     and    at     issue    in    their     lawsuit,   namely,     the    model

formulation,       the    derivation      of    equations,   and    related    figure

drawings.        (SJ Resp. 7.)         Defendants did not dispute this, so I

reviewed the law and evidence presented by the parties with these

specific pieces of plaintiffs’ works in mind.

      In their motion, defendants cited persuasive authority in

support of their argument that 1) plaintiffs’ mathematical model,

regardless of the form of expression or illustration, is excluded

from copyright protection pursuant to § 102(b) of the Copyright Act


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(e.g. plaintiffs’ works were merely expressions or illustrations of

a     procedure,      process,    system,          method   of    operation,      concept,

principle, or discovery) and 2) the merger doctrine was applicable.

(Defs.’ SJ Mem. 7.)              Because plaintiffs did not respond with

convincing authority, argument, or evidence suggesting otherwise,

I found their copyright infringement claim could not withstand

summary judgment.         (SJ Resp. 5-8, citing PSAF ¶¶ 1-12.; Op. 5-10.)

In fact, the evidence cited in plaintiffs’ response specifically

describes       the    model,    and    its    formulation         and    derivation      of

equations, as Ho’s “concept” and “principle” and fails to address

copyrightability of the figure drawings altogether.                           (SJ Resp. 5-

8, citing PSAF ¶¶ 1-12.)

        Plaintiffs      also    did    not    explain       how   their       concepts   and

principles could be alternatively expressed or illustrated so as to

avoid application of the merger doctrine.                    Their response, without

any authority or evidence, was simply that the doctrine was not

relevant       because    “[t]here      are        countless      ways    a    fundamental

principle can be reduced into other equations,” “there are numerous

ways of depicting the results of a scientific experiment or model,”

and “there are countless ways to capture these ideas in tangible

written text.”        (SJ Resp. 8.)      If there really are “countless” ways

of expressing the copied works, plaintiffs should have easily been

able to give at least one example of an alternative rendering.

        The remaining arguments merely re-hash plaintiffs’ take on the


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authority presented on summary judgment and referenced in my

opinion.    I simply disagree with plaintiffs’ interpretation and

application of those cases and find no manifest error of law

requiring alteration or amendment of my decision to grant summary

judgment.

                                      IV.

     For the foregoing reasons, plaintiffs’ motion is denied.



                                       ENTER ORDER:



                                       ____________________________
Dated: April 9, 2010                   Elaine E. Bucklo
                                       United States District Judge




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